579 F.2d 400
    78-2 USTC  P 9796
    In the Matter of Ike Slodov, Debtor.Ike SLODOV, Appellant Cross-Appellee,v.UNITED STATES of America on Behalf of the INTERNAL REVENUESERVICE, Appellee Cross-Appellant.
    Nos. 75-2496, 75-2497.
    United States Court of Appeals,Sixth Circuit.
    Aug. 1, 1978.
    
      Frederick M. Coleman, U. S. Atty., Cleveland, Ohio, Scott P. Crampton, Gilbert E. Andrews, William A. Friedlander, Jeffrey S. Blum, Appellate Section, Tax Div., Dept. of Justice, Washington, D. C., for appellee cross-appellant.
      Bennett Kleinman, Kahn, Kleinman, Yanowitz &amp; Arnson, Cleveland, Ohio, for appellant cross-appellee.
      Before EDWARDS, CELEBREZZE and LIVELY, Circuit Judges.
    
    ORDER
    
      1
      This order is entered pursuant to the mandate of the Supreme Court of the United States filed in the office of the clerk of this court on June 22, 1978.  In our decision reported at 552 F.2d 159 (1977), we held that the Debtor, Ike Slodov, was personally liable under 26 U.S.C. § 6672 for a tax liability of corporations which he controlled for unpaid taxes withheld from wages prior to his assumption of control.  The Supreme Court granted the certiorari, 434 U.S. 817, 98 S.Ct. 54, 54 L.Ed.2d 72 (1977), and thereafter reversed that portion of the judgment of this court which held the Debtor liable for wage withholding and FICA taxes required to be collected from employees' wages prior to January 31, 1969.  Slodov, Petitioner v. United States, --- U.S. ----, 98 S.Ct. 1778, 56 L.Ed.2d 251 (1978).
    
    
      2
      This cause is remanded to the district court with directions to reinstate that portion of its previous judgment in favor of the Debtor Ike Slodov with respect to taxes required to be collected from employees' wages prior to January 31, 1969.
    
    